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                                                                                 Hon. Robert S. Lasnik
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11                         UNITED STATES DISTRICT COURT
12                   WESTERN DISTRICT OF WASHINGTON AT SEATTLE

13
14     LETICIA LUCERO,                                 NO. 2:13-cv-00602 RSL

15                     Plaintiff,                      MOTION TO ACCEPT THIRD
16     vs.                                             AMENDED COMPLAINT AS FILED
                                                       OR IN THE ALTERNATIVE, MOTION
17     CENLAR FSB and BAYVIEW LOAN                     FOR LEAVE TO AMEND SECOND
18     SERVICING, LLC, et al.,                         AMENDED COMPLAINT IN ITS
                                                       ENTIRETY
19
                        Defendants.
20                                                     NOTE ON MOTION CALENDAR:
21
                                                       FRIDAY, NOVEMBER 14, 2014
22
23
             Plaintiff LETICIA LUCERO, by and through the undersigned counsel, respectfully
24
25   moves the Court for an Order Accepting the Attached Third Amended Complaint, or in the
26   alternative, for leave to amend her Second Amended Complaint in its entirety pursuant to
27   FRCP 15(a).
28
                                        I. PROCEDURAL FACTS
29
30           1.     Plaintiff moved to amend her Complaint on May 13, 2014 (Dkt. #60), The Court

31   granted Plaintiff leave to amend via order (Dkt. 77). Plaintiff filed her Second Amended
32   MOTION FOR LEAVE TO AMEND - 1                            BARRAZA LAW, PLLC
                                                             14245-F Ambaum Blvd. SW
                                                                 Burien, WA 98166
                                                           206-933-7861 Fax 206-933-7863
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 1   Complaint on the same day (Dkt. # 78).
 2
          2.       Defendants Cenlar, MERS, Dobron and Morris filed Motion to Dismiss on July
 3
 4   10, 2014 (Cenlar’s Motion to Dismiss) (Dkt. #82).

 5        3.       On October 3, 2014, this Court issued Amended Order Granting in part and
 6   Denying in part Cenlar’s Motion to Dismiss. The Court’s Order authorized Plaintiff to amend
 7
     her claims under RESPA and TILA (Dkt. #107 ).
 8
          4.       Defendant Bayview filed its Motion to Dismiss on July 31, 2014 (Dkt. #90).
 9
10        5.       On October 3, 2014, this Court issued Order Granting in part, and Denying in
11   part Bayview’s Motion to Dismiss. The Court’s Order authorized Plaintiff to amend her
12
     FDCPA claims (Dkt. #119).
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          6.       Plaintiff seeks to amend the Second Amended Complaint, in addition to those
14
15   claims permitted by the Court, to add or modify claims to reflect changes in the law based on

16   Washington Supreme Court’s issuance of Frias v. Asset Foreclosure Services, Inc., 2014
17   Wash. LEXIS 763 (2014).
18
                           II.    LEGAL AUTHORITIES & ARGUMENT
19
          This Court has held previously in McDonald v. OneWest Bank, FSB, 2012 U.S. Dist.
20
21   LEXIS 21449 (W.D. Wash. 2012) that “Courts ‘should freely give leave [to amend] when
22   justice so requires.’ Fed. R. Civ. P. 15(a)(2). There is a ‘strong policy in favor of allowing
23
     amendment’ after ‘considering four factors: bad faith, undue delay, prejudice to the opposing
24
     party, and the futility of amendment.’ Kaplan v. Rose, 49 F.3d 1363, 1370 (9th Cir. 1994). The
25
26   underlying purpose of Rule 15 is ‘to facilitate decision on the merits, rather than on the

27   pleadings or technicalities.’ Lopez v. Smith, 203 F.3d 1122, 1127.” McDonald, supra. HN3Go
28   to the description of this Headnote.Rule 15(a) expresses a strong presumption in favor of
29
     liberal pleading:
30
31
32   MOTION FOR LEAVE TO AMEND - 2                              BARRAZA LAW, PLLC
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 1        Rule 15(a) declares that leave to amend "shall be freely given when justice so
          requires"; this mandate is to be heeded. If the underlying facts or circumstances
 2        relied upon by a plaintiff may be a proper subject of relief, he ought to be
 3        afforded an opportunity to test his claim on the merits. In the absence of any
          apparent or declared reason--such as undue delay, bad faith or dilatory motive
 4        on the part of the movant, repeated failure to cure deficiencies by amendments
 5        previously allowed, undue prejudice to the opposing party by virtue of
          allowance of the amendment, futility of amendment, etc.--the leave sought
 6
          should, as the rules require, be "freely given."
 7
     Foman v. Davis, 371 U.S. 178, 182, 9 L. Ed. 2d 222, 83 S. Ct. 227 (1962).
 8
 9         On September 18, 2014, the Washington Supreme Court issued Frias v. Asset

10   Foreclosure Services, Inc., 2014 Wash. LEXIS 763 (2014), holding that the DTA does not
11   create an independent cause of action for monetary damages based alleged violations of its
12
     provisions if no foreclosure sale has been completed. The decision impacts all of Plaintiff’s
13
     DTA claims against the Defendants. Based on Frias, the proposed amendment, then, simply
14
15   offers a new legal theory, and amendments that merely propose alternative legal theories for
16   recovery on the same underlying facts should generally be permitted. See Mayeaux v.
17
     Louisiana Health Service & Indemnity Co., 376 F.3d 420, 427 (5th Cir. 2004); Lowrey v. Texas
18
     A & M University System, 117 F.3d 242, 246 n.2 (5th Cir. 1997); In re Integrated Resources,
19
20   Inc., 157 B.R. 66, 71 (S.D.N.Y. 1993).

21         This Court has already granted Plaintiff leave to amend. The only additional relief
22   requested is Plaintiff’s ability to plead an alternative theory of liability in place of liability
23
     arising out of the DTA. Justice will be served by the Court’s grant of leave to amend.
24
                                            III.   CONCLUSION
25
26         For all of the foregoing factual reasons and legal citations, Plaintiff prays the Court to
27   accept her Third Amended Complaint as attached or, in the alternative, allow her to amend her
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     claims as set forth in the attached Third Amended Complaint to this Motion.
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32    MOTION FOR LEAVE TO AMEND - 3                                BARRAZA LAW, PLLC
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 1        DATED this 21st day of October, 2014.
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 4
                                             /s/ Vicente Omar Barraza
 5                                    Vicente Omar Barraza, WSBA # 43589
 6                                    Attorney for Plaintiff Leticia Lucero
                                      BARRAZA LAW, PLLC
 7
 8                                           /s/ John R. Laris
                                      John R. Laris, WSBA # 44406
 9
                                      Attorney for Plaintiff Leticia Lucero
10                                    BARRAZA LAW, PLLC
11
                                             /s/ Ha Thu Dao
12                                    Ha Thu Dao, WSBA # 21793
13                                    Attorney for Plaintiff Leticia Lucero
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